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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                     CASE NO: 19-CV-80825-DMM

  JENNIFER QUASHA, on behalf of her
  son, H.Q., a minor

           Plaintiffs

  vs.

  CITY OF PALM BEACH GARDENS, FLORIDA

        Defendants
  ________________________________/

                               UNOPPOSED MOTION TO WITHDRAW

           COMES NOW, Matthew W. Dietz, and the Disability Independence Group, Inc., as

  counsel for Plaintiff, JENNIFER QUASHA, on behalf of her son, H.Q., hereby respectfully moves

  the Court pursuant to Southern District of Florida Local Rule 11.1 (d) for an order permitting them to

  withdraw as Counsel of Record for Plaintiff, and states as follows:

        1. Matthew W. Dietz and the Disability Independence Group, Inc., are the counsel of record

           representing Plaintiff, JENNIFER QUASHA, on behalf of her son, H.Q., in the above

           captioned action.

        2. Matthew W. Dietz and his attorneys at the Disability Independence Group, Inc, have

           irreconcilable differences with the Plaintiff, JENNIFER QUASHA, on behalf of her son,

           H.Q. with regards to the above captioned action and wishes to immediately withdraw from

           the representation of the Plaintiffs in this action.

        3. Pursuant to Local Rule 7.1 (a) (3), the undersigned has conferred with counsel for

           Defendant, and Defendant does not oppose the Court granting the relief requested herein.



          Disability Independence Group, Inc. * 2990 Southwest 35th Avenue * Miami, Florida 33133
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     4. Plaintiff, JENNIFER QUASHA, on behalf of her son, H.Q., record address for future

            filings is, 108 Via Escobar Place, Palm Beach Gardens, Florida 33418, or via email

            jeniega@aol.com.

            WHEREFORE, Matthew W. Dietz and Disability Independence Group, Inc, respectfully

  requests that he and the firm be permitted to immediately withdraw from this action as counsel of

  record.

                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on January 16, 2020, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send notice of electronic filing to

  all parties and counsel of record, and will send copies of this motion via U.S. Mail to JENNIFER

  QUASHA, 108 Via Escobar Place, Palm Beach Gardens, Florida 33418, and via email

  jeniega@aol.com, or in some other authorized manner for those counsel or parties who are not

  authorized to receive notices electronically.

                                                  By: s/ Matthew W. Dietz
                                                  Matthew W. Dietz, Esq.
                                                  Florida Bar No. 0084905
                                                  Disability Independence Group, Inc.
                                                  2990 Southwest 35th Avenue
                                                  Miami, Florida 33133
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